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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

Sharon Yvonne Ross,                      )       C.A. No.: 3:22-cv-03043-MGL-PJG
                                         )
                     Plaintiff,          )
                                         )
       vs.                               )       NOTICE OF APPEARANCE
                                         )
Billy R. Oswald; Oswald & Burnside, LLC; )
Billy R. Oswald Law Firm, LLC; and       )
Oswald Realty, Inc.,                     )
                                         )
                     Defendants.         )
                                         )
____________________________________)

       YOU WILL PLEASE TAKE NOTICE that James Edward Bradley of the Moore Bradley

Myers Law Firm, hereby enters an appearance on behalf of the Defendants in the above-

referenced matter.

                                         Respectfully submitted,



                                         MOORE BRADLEY MYERS LAW FIRM, P.A.

                                         BY:s/James Edward Bradley _______
                                           James Edward Bradley, Fed. Bar #6330
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                                           ATTORNEYS FOR THE DEFENDANTS
West Columbia, South Carolina
November 14, 2022




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